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               DECLARATION OF ROGER ISAAC ROOTS, ESQ.


      My name is Roger Roots and I am an attorney and partner with John Pierce

in the John Pierce Law firm. I write this sworn declaration, under my oath and

under penalties of perjury, to attest to my extreme hardship regarding scheduling in

the United States v. Alberts trial, scheduled to begin on Feb. 6.

      I have assisted John Pierce with motion practice, extensive research and

drafting of memoranda and extensive case preparation in the Alberts case. It has

been our plan all along for me to be at the table with John Pierce trying this case

(or perhaps even taking the lead and trying the case without John Pierce) beginning

on Feb. 6.

      However, a problem has emerged for me. I have been assisting an attorney

named Steve Metcalf (and a defendant named Pezzola) in the ongoing Proud Boy

trial (United States v. Nordeen) before Judge Kelly. Mr. Metcalf was in dire need

of assistance with jury selection in early December when trial in that case was

initially scheduled.

      At the time I began assisting Mr. Metcalf, the Proud Boy trial was scheduled

to take around 5 weeks, ending in early February. Mr. Metcalf filed a pro hac vice

motion in December for me, which was granted. Despite anticipating that I would
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only be needed for jury selection, I am now actually at the table in the Proud Boy

trial.

         Unfortunately, the Proud Boy trial seems to advance into the future on a

daily bases, as jury selection has taken some three weeks. Opening statements

finally occurred on January 12.

         This poses the likelihood of pushing the end date of the Proud Boy trial into

mid-February rather than early February. I am concerned that if I am not available

for the beginning of the Alberts trial, Alberts will not be able to present his best

defense and there may be ineffective assistance of counsel issues.

                                Respectfully submitted,
                                                                /s/ Roger I. Roots, Esq.
                                                                   Roger I. Roots Esq.
